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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
              v.                                     :   Case No. 22-mj-002
                                                     :
FRANK ROCCO GIUSTINO,                                :
                                                     :
        Defendant.                                   :

  JOINT STATUS REPORT AND MOTION TO CONTINUE STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Evan Sugar, counsel for Frank R. Giustino (“the defendant”), hereby

submit the following Joint Status Report.        The parties also respectfully move the Court to

continue the Status Conference currently scheduled for September 13, 2022 for a period of

approximately 60 days, and to exclude the intervening time under the Speedy Trial Act. In

support of the Motion, the parties represent:

   1. The defendant is before the Court charged in a criminal complaint with: Entering and

       Remaining in a Restricted Building, in violation of Title 18, United States Code, §

       1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building, in violation of

       Title 18, United States Code, § 1752(a)(2); Disorderly Conduct in a Capitol Building, in

       violation of Title 40, United States Code, § 5104(e)(2)(D); and Parading, Demonstrating,

       or Picketing in a Capitol Building, in violation of Title 40, United States Code, §

       5104(e)(2)(G) (ECF No. 1).

   2. Counsel needs additional time to discuss with eh defendant a resolution of the matter or in

       the alternative, the scheduling of a trial.
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      3. The parties believe it is in the interest of justice to toll the Speedy Trial Act while defense

         reviews discovery and the parties discuss resolving the matter. The parties thus request a

         tolling of the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors

         described in 18 U.S.C. 3161(h)(7)(B)(i), (ii), and (iv), as well as 18 U.S.C. § 3161(h)(1)(G).

      4. Therefore, the parties request the September 13, 2022 Status Conference be continued for

         approximately 60 days, and that there is an exclusion of time under the Speedy Trial Act

         from September 13, 2022, through the next scheduled Status Conference.

      5. The defendant is out of custody.

      6. The defendant concurs with this request.

         Respectfully submitted,

         MATTHEW M. GRAVES
         United States Attorney

By:           /s/                                          /s/
         Douglas G. Collyer                             Evan Sugar
         Assistant United States Attorney               Federal Public Defender
         Capitol Riot Detailee                          Counsel for Frank R. Giustino
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